UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JENNER & BLOCK LLP,
Plaintiff,

V. Civil Case No. 1:25-cv-00916

U.S. DEPARTMENT OF JUSTICE, et al.,

Defendants.

ORDER GRANTING TEMPORARY RESTRAINING ORDER

Upon Consideration of Plaintiff Jenner & Block LLP’s Motion for a Temporary
Restraining Order (“TRO”) and accompanying memorandum, declarations, and exhibits, it is
hereby:

ORDERED that the Motion is GRANTED; it is further

ORDERED that the Defendants are ENJOINED from implementing or enforcing
Sections 3 and 5 of the President’s March 25, 2025 Executive Order entitled “Addressing Risks
from Jenner & Block”; it is further

ORDERED that Defendants are ENJOINED from using the statements laid out in Section
1 of the Executive Order in any interactions with Plaintiff or Plaintiff's clients, or employee of
Plaintiff or Plaintiffs clients; it is further

ORDERED that Defendants are DIRECTED to suspend and rescind all guidance or other
direction provided to their officers, staff, employees, or contractors to communicate, effectuate,
implement, or enforce Sections 1, 3, and 5 of the Executive Order; it is further

ORDERED that Defendants are DIRECTED immediately to issue guidance to their

officers, staff, employees, and contractors to disregard Sections 1, 3, and 5, of the Executive Order
and to carry on their ordinary course of business absent these Sections of the Executive Order; it
is further

ORDERED that Defendants are DIRECTED immediately to (1) communicate to every
recipient of a request for disclosure of any relationship with Jenner & Block LLP or any person
associated with the Firm, made pursuant to Section 3(a) of the Executive Order, that such request
is rescinded until further order of the Court; and (2) cease making such requests for disclosure,
pursuant to Section 3(a) of the Executive Order, until further order of the Court; it is further

ORDERED that Defendants must, in good faith, take such other steps as are necessary to
prevent the enforcement or implementation of Sections 3 and 5 of the Executive Order during the
effective period of this Order; it is further

ORDERED that Defendants U.S. Department of Justice, Pamela Bondi, in her official
capacity as U.S. Attorney General; the Office of Management and Budget; and Russell Vought, in
his official capacity as director of the Office of Management and Budget, must additionally
immediately issue guidance to all other agencies subject to the Executive Order to suspend and
rescind any implementation or enforcement of Sections 3 and 5 of the Executive Order, as well
as any use of or reliance on the statements in Section 1 of the Order; it is further

ORDERED that Defendants must file a status report by 12:00 p.m. on Monday, March
31 describing the steps taken to ensure compliance with this Order and certifying compliance
with its requirements; and it is further

ORDERED that this Order shall remain in effect until further order of this Court. IT IS
SO ORDERED.

Dated: I(> (25 AWM bol\

Ulf. District Judge

